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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
NORTHERN DIVISION AT COVINGTON

NICHOLAS SANDMANN, by and : CASE NO. 19-CV-00056-WOB-CJS
through his parents and natural :

guardians, TED SANDMANN =§and

JULIE SANDMANN,

Plaintiff,
Vv.
NBCUNIVERSAL MEDIA, LLC

Defendant.

NICHOLAS SANDMANN, by and : CASE NO. 20-CV-00023-WOB-CJS
through his parents and _ natural :

guardians, TED SANDMANN =§$ and

JULIE SANDMANN,

Plaintiff,
V.

THE NEW YORK TIMES COMPANY
d/b/a THE NEW YORK TIMES

Defendant.

NICHOLAS SANDMANN, by and : CASE NO. 20-CV-00024-WOB-CJS
through his parents and _ natural :

guardians, TED SANDMANN and

JULIE SANDMANN,

Plaintiff,
v.

CBS NEWS, INC., et al.

Defendants.

4841-6570-9821v.2 0019918-000075
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NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00025-WOB-CJS
through his parents and natural :

guardians, TED SANDMANN =§$and

JULIE SANDMANN,

Plaintiff,
Vv.
ABC NEWS, INC., et al.

Defendants.

NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00026-WOB-CJS
through his parents and natural :

guardians, TED SANDMANN sand

JULIE SANDMANN,

Plaintiff,
v.

GANNETT CO., INC. AND GANNETT
SATELLITE INFORMATION
NETWORK, LLC,

Defendants.

NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00027-WOB-CJS
through his parents and _ natural :

guardians, TED SANDMANN and

JULIE SANDMANN,

Plaintiff,
Vv.
ROLLING STONE, LLC, et al.

Defendants.
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DECLARATION OF ASHLEY BELL

1. My name is Ashley Bell. I make this Declaration from personal knowledge and
am competent to testify to the facts stated herein.

Ds I reside in New London, Connecticut. I am the individual pictured in this image:

 

BE On January 18, 2019 I went to the Indigenous Peoples March in Washington,
D.C. I have regularly attended marches and rallies focused on issues important to Indigenous
people. I caught a ride from Connecticut, to Washington, D.C.

4. At some point I ran into Nathan Phillips there. I had previously met Mr. Phillips
while participating in protests at Standing Rock in 2016 and occasionally communicated with
him since then. I have respect and admiration for Mr. Phillips.

5. At one point, I took a break from listening to the speeches and started strolling
around and saw a small group of Black men, who I now know called themselves Black Hebrew
Israelites. I do not remember in particular anything they were saying, but I remember thinking
that they were speaking in a highly impassioned way that at times could come off as abusive,

including to Native Americans.
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6. Eventually, the Indigenous Peoples March wrapped up. I and a few others,
including Mr. Phillips, were milling around the Lincoln Memorial area while we waited to go eat
dinner. I had a good day at the March, and I felt uplifted by the experience.

7. Around the same time, I also remember seeing a group of white high school-age
students gathering on the Lincoln Memorial steps. Because growing up I had visited
Washington, D.C., for school field trips, I could tell that they were an organized student group of
some kind. I noticed that many of them were wearing Make America Great Again (MAGA)
hats.

8. As I stood off to the side, I started seeing the Black Hebrew Israelites and the
students go back and forth verbally. I could not make out most of what they were saying, but
over time, the situation between the two groups appeared to me to get increasingly tense,
especially as more and more students arrived on the steps. It got to the point where the students
massively outnumbered the Black Hebrew Israelites, which seemed to me to empower the
students to be louder and more aggressive towards them.

9. I saw one student remove his shirt, run down the steps where the students were
gathered, and stand in front of all the students while they were yelling, grunting, and clenching
their fists. It appeared to me that they were poorly imitating the haka, the dance that I know is
traditionally performed by the Maori, New Zealand’s indigenous people. Later, I read that
students said they were doing school cheers. I attended a large high school in Connecticut with
an active sports culture, so I am familiar with school spirit and cheer culture. But at the time I
did not perceive that as a school cheer, nor to this day does it seem like one I had ever seen.
Rather, it struck me as racially insensitive and very aggressive behavior from a group of teens

who seemed to me to be behaving like a mob.
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10. [have had some training in security and medic work, and so J have been taught to
recognize when situations are escalating. To me, it felt like the tensions between the sizeable
number of students and the Black Hebrew Israelites were getting ugly and out of hand, and I
began to fear that something bad was going to happen.

11. I was standing near Mr. Phillips at this point, and someone who I do not know
gave Mr. Phillips a drum to use. Mr. Phillips started singing the American Indian Movement
Song. I have heard that song before in gatherings of indigenous persons, and it is typically sung
in a peaceful way to inspire unity and togetherness. I understood that it was traditional for
everyone who knows the song, like I did, to join in whenever they hear it. So I started singing
along with Mr. Phillips. J assumed he sang to try to bring some peace to the situation.

12. | [I saw many of the students get down on one knee and start yelling out. At that
time in popular culture, it seemed to me well-known that kneeling on one knee in relation to a
group of Black men could well be interpreted as a reference to the controversy over NFL player
Colin Kaepernick’s “taking the knee” during the national anthem in protest of racial injustice and
police brutality. I did not know what the students intended, but I remember thinking that the fact
that many of the white students were going down on one knee in front of small group of Black
men, who they vastly outnumbered, was either deliberately mocking them or at least racially
insensitive, and to me it was uncomfortable to watch.

13. | At some point, another man with a drum, who I did not know, approached Mr.
Phillips and joined him in singing. Mr. Phillips then began walking toward the Black Hebrew
Israelites and the students. I did not know what prompted Mr. Phillips to do that. Mr. Phillips
did not request that I go with him, nor did he ask me or to my knowledge anyone else to record

or videotape him. Because Mr. Phillips was my elder and I respected him, I followed him. I
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figured that, like me, Mr. Phillips had witnessed the escalating tensions between the Black
Hebrew Israelites and the students and hoped he could help calm the situation. It seemed to me
like a courageous thing for him to do, and it still does. A few others who were in the area also
followed Mr. Phillips, but I did not know who they were.

14. As I stood behind Mr. Phillips as he stood and sang in front of the students, I felt
that the crowd surrounded us and sealed the space all around us. I felt as though we were
crammed in like sardines. I noticed that many students were repeatedly moving their arms and
bringing them down in a tomahawk chop, and that they also appeared to be doing the cheer that
typically accompanies the tomahawk chop at sports games featuring teams with Native mascots,
like the Atlanta Braves. It seemed as though the students were mocking Mr. Philips, and the
whole situation felt racially insensitive and painful to me.

15. At one point it seemed to me that Mr. Phillips was attempting to move forward
and through the crowd, and it briefly appeared to be working as students moved out of his way.
But I saw a student, who I now know to be Nicholas Sandmann, who seemed to me to
deliberately step in front of Mr. Phillips and block him from moving any further forward. I
remember feeling very uncomfortable because Mr. Sandmann had what I felt was a self-
righteous, defiant smirk on his face as he looked at Mr. Phillips. I could not understand how he
thought it was acceptable to behave like that towards an elder.

16. I thought then, and still do, that Mr. Sandmann blocked Mr. Phillips. It appeared
to me then, and it still does, that Mr. Sandmann positioned himself in front of Mr. Phillips and
remained there to try to stop Mr. Phillips from moving forward through the crowd as Mr. Phillips

had been doing.
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17. | As Mr. Sandmann stared at Mr. Phillips and I heard what seemed to me to be jeers
from some of the students, I remember looking around and thinking that the group of students
eerily and overwhelmingly felt to me like a mob. I felt totally outnumbered. I was familiar with
the history of the U.S. Civil Rights movement, including historic images of groups of white
people taunting African-Americans. To me, the situation felt very similar to that, especially
given the heated political context of that time. That is why when one of the students said, “I
don’t know what’s going on”, I responded, “You guys are acting like a mob, that’s what’s going
on.” I recall being surprised and disturbed that no adult chaperones appeared to be supervising
the students.

18. After some period of time, an adult came over, the students scattered, and Mr.
Sandmann walked away from Mr. Phillips. One of the other men standing near Mr. Phillips,
who I did not know, seemed concerned that someone stay with Mr. Phillips. Another man there
who was wearing a red hat, who I also did not know, said “I got him,” which I understood to
mean that he would stay and watch out for Mr. Phillips. I also said to the man who had seemed
concerned “[w]e got Nate,” to assure him that I would also stay there with Mr. Phillips, which I
did.

19. Shortly after that, Mr. Phillips lifted his drum above his head, spun around in a
circle while beating the drum faster, and thus ended the song. Mr. Phillips then tumed to address
those gathered around him. He got their attention by saying, “Relatives, relatives” and then
“Let’s make America great, let’s do that,” which I interpreted to express Mr. Phillips’ desire to
resolve tense and conflicted situations peacefully, like he had just done.

20. I remember feeling thankful that Mr. Phillips got involved in the situation, as it

seemed to me that the tensions between the Black Hebrew Israelites and the students were
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heading to a dangerous outcome. I felt that Mr. Phillips’ intervention through song and prayer
helped calm down the situation, and to this day I am glad that I could help be a part of it.

21. After the incident was over, I stayed with Mr. Phillips as he walked away from
the area. I recall a couple of people who I did not know and had cameras came up to Mr. Phillips
and asked him a few questions about what had happened. I remember that at times Mr. Phillips
was basically in tears, as the situation had been highly emotional on top of an already-long day at
the Indigenous Peoples March. While I had not intended to stay in Washington, D.C. after the
March, I remained in town with Mr. Phillips for some time afterward to try to support him and
help deal with the media inquiries that started the next day.

22. I am stunned that Mr. Sandmann and his lawyers have since claimed that Mr.
Phillips’ approach was a premeditated publicity stunt, planned with other supposed
“companions” to create some kind of viral moment. To the contrary, to my knowledge it was a
spur of the moment response to try to help diffuse a heated situation. I never heard Mr. Phillips
or anyone else plan anything with anyone, including me, and other than Mr. Phillips I did not
know anyone else who was nearby at the time.

1 affirm under the penalties of perjury that the foregoing is true and correct, to the best

of my knowledge.

 

Dated: November 23, 2021

Astley Bell”
